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12                                      UNITED STATES DISTRICT COURT

13                                     NORTHERN DISTRICT OF CALIFORNIA

14                                         SAN FRANCISCO DIVISION

15   UNITED STATES OF AMERICA,                          Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                 WITHDRAWAL OF MOTION

17                                                      Judge: Hon. James Donato
                                  v.
18
     CARLOS E. KEPKE,
19
             Defendant.
20

21          The United States of America withdraws its Motion filed at Docket No. 124.
22 Dated November 7, 2022
                                                             STEPHANIE M. HINDS
23                                                            United States Attorney
24                                                            s/ Corey J. Smith
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     WITHDRAWAL OF MOTION                               1
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